Case 1:22-cv-00986-GTS-CFH Document 49-1 Filed 10/13/22 Page 1of11
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THE LAWS AND LIBERTIES
OF MASSACHUSETTS

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With an Introduction by

MAX FARRAND

CAMBRIDGE:
HARVARD UNIVERSITY PRESS
Eg 29

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BOOK OF THE GENERAL

LAUUES AND LIBERT YES

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CERNING. THE INHABITANTS OF THE MASSACHUSETS

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fi - ne OF THE RECORDS OF THE GENERAL COURT
HE SEVERAL TE AES WHERIN THEY WERE MADE
AND ESTABLISHED,

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is ra any fe Cort a fpfed into an Af habs ore
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1647

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THE
HOOK OF THE GENERAL

LAUUES AND LIBERTYES

CONCERNING THE INHABITANTS OF THE MASSACHUSETS
COLLECTED GUT OF HE ‘RECORDS OF THE GENERAL COURT
FOR THE SEVERAL YEARS WHERIN THEY WERE MADE
AND ESTABLISHED,

And now reviled by the fame Court and difpafed into an Alphabetical order
and publithed by the fame Authoritic in the General Court
held at Boflae the fourteenth af the
firk month etna
164}

UUbaiadner thergfare reifterh the potrer, reifteeh theordinanceaf Gad,
and they that reff receive to themjelbes damestion. ‘Romaner t3.2.

CAMBRIDGE.
Printedaceording to arderufthe GENERAL COURT.
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Andare ta be (oldeat the fhop of Megeliak Uiter
jn Dalat,

TO OUR BELOVED BRETHREN AND NEIGHBOURS
the Inhabitants of the Maffachufets, the Governour, Affiftants
and Deputies affembled in the Generall Court of that
Jurisdiétion with grace and peace in our

Lord Jefus Chrift.

S Ofoon as God had fet up Politicall Government among his people Lfrael hee gave
them a body of lawes for judgement both in civil and criminal caufes, Thefe were
breif and fundamental principles, yet withall fo full and comprehenfive as out of
them clear dedutlions were to be dravene to all particular cafes in future times.
For a Commonwealth without lawes is like a Ship without rigging and fteeradge. Nor is it
fufficienttohave principles or fundamentalls, but thefeare to bedrawn outintofomany of their
deductions as the time and condition of that people may have ufe of. And itis very unfafeS
injurious tothe body of the peopleto put them to learntheirduty andlibertiefrom generallrules,
nor is it enough to have laves except they be alfo jus. Therefore among other priviledges
whichthe Lord befowed upon his peculiar people, thefe hecailsthem [pecially to confider of, that
God was neerer lothem and theirlawes were morerighteous then other nations. Godwas fayd
fo be among them or neer to them becaufe of his Ord nances efablifbed by himfelfe, and their
lates righteous becaufe himfelfewas their Law-giver: yet inthe comparifon are implyed Nvo
things, firft that other nations had fomthing of Gods prefence amongst them, Secondly that
there was alfofomhatof equitie in their lawes, for it pleafed the Father(upon the Covenantof
Redemption with his Son) to reflore fo much of his Image to lost man as whereby allnations are
difpofed to worfbip God, and to advance righteoufnes: which appears in that of the Apofile
Rom. 1. 21, They knew God &c: and in the 2. 14. They did by nature the things
conteined in the law of God. But the nations corrupting his Ordinances (both of Religion,
and Fuftice)God withdrewhis prefence from them proportionably whereby theyvvere given up
fo abominable lufis Rom.2. 21. Wheras if they had vealked according to that light & layy
of nature they might have been preferved from f ich moral evils and might haveinjoyeda com-
mon bleffing in all their natural and civil Ordinances: now, if it might have been fo with the
nations who were fo much flrangers to the Covenant of Grace, what advantage dave they who
have intereftin this Copenant,and may injoyethefpecial ‘prefence of God inthe puritieand na-
tive fimplicitie of all his Ordinances by which he ts fo neer fo his owne people. Thishath been
no {mall priviledge, and advantage to us in New-England that our Churches,and civil State
have been planted,and growne up (like Nwo tyvinnes) to, gether like that of Lfrael in the vvilder-
nes by which weewere putin minde(and had opportunitie put intoourhands)notonly to gather
our Churches, and fet up the Ordinances of Chrift Fefits in them according tothe 4, poftalick
patterne by fuch lightas the Lard gracioufly afforded us: but alfowithallta frame our civil Po-
litte, and lawes according totherules of hismofthaly word whereby each dohelpand firengthen
other (the Churches the civil Authoritie, and the civil Authoritie the Churches) and fo both
profper the better without fuch emulation, and contention for priviledges or priority as have
proved the mifery (if not ruine) of both in fome other places.

For this end about nine years fince wee tifed the help of fome of the Elders of our Churches

fo compofe a modell of the Iudiciall lates of Mofes with fuch other cafes as mightbe referred to
them, with intent to make ufe of them in compofing our lalves, but notte have them publifoed
as the latves of this Furisdidtion: nor were they voted in Court. For that bookintitled The
Liberties &c: publijbed about feven years fince (which conteines alfo many lawes and orders
oth for civil 3 criminal caufes,and is commonly (though without ground) reported to be our
Fundamentalls that wee owne as cflablifoed by Authoritie of this Court, and that after three
years expertence&s generall approbation: and accordingly we have inferted them into this vo-
lume under the feverall heads to which they belong yet not as fundamentals, for diversof them

habe fince been repealed, or altered, and more may jryfily be (at leaf!) amended heerafter as fur-
["" experience fhall difcover defects or inconveniences for Nihil fimul natum et perfe Sain .
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ote fame inde alee yi it Courts af junice B= buat that they had if neta ort tian, Withotd impeachm#t GS infringement kath ever deen, 2 ever teal be the trangail-
Ueint whornied of Latenors cient: Phere can be wo ju eanfeta blame a Coe lity & lability of Churches €2 Comon-realtha; & the denial er deprivall heraf the
Breth Her niles fara good and Meh : Sime that in cighicen years hath produced ae difturbance, of not ruine of beth:
22h yer stra ay cae ere thenthas leak halds ferth: mor MPO a Jt ts therfore ordered Ly this Court, & Authority therof, That no mans life (hall
OU these imply th by tther States, EF Coon oe teh dack upan pur i a ecaA of fc! be taken away; no mans honour of good name {hall be ftayned; no mans perfon fhal be
tepealing and. Hea inthis fervice; for edeee ealthy in Eterope) ta corp Tiel anrcited, reftrained, bannidhed, difmembred ner any wayes panties no man fhall be
tof reap ie ne them fo often nor wfth € ria hath been jpeut it inated at deptived ef his wife or children; na mans goods cr eftate thal be taken away from him;
ition bes the Cistiion reves yon q ft charge Which the Country bath hirant*! hor any wayes indamaged under colour of [Law ur countenance of Authoritie unles it be
The Ta Greet in Orbe daha Jatisfattorie seajsn of fuck comtinied . beth vertue or equity of fome exprelle law of the Country warranting the fatne ella
der feseralt head Which were tmade fucceffvely j Jared Mihed by a General Court & fufficienely publifhed; or in cafe of the defedt of a law in
that the divers later analphabeticall method th iin divers former years, we hive 12° yay any particular cafe hy the werdof God. Andis capital eafes,ur in eales conc dif.
Whole end We ares FOnCerning ane tnatter betes they might the mare reat meal! |endbring or banithmit according to that word to be Judged by the General Vourt [1641
net deen fo eeatn gt tom might the man ractig placed mpether the feope an a eee tt , . Abilitie. 4 5 dk PH goat
M: the Feafen Ve TE EPeTY late under ih ly be apprehended: tre mf ety Seowtl A All perfons of the age of twenty one years, and of ight underitanding & mermarie | rentemnrt
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your itp eae Tech a ene ta be tiie your longing expectation ame trl their Wills & Teftaments & other [aw full Alicnations of theie lands and effates. [141] ware
le fatisfesiene be, Pule eich you eg eee i Brit: aeherin (rp coer) gal fee children, Adions, fe aaa ce seine
Aave added in ph, the hel of the refer, gM to wells by, dma in this (re Ae) Peace All Adtions of debt, accounts, launder, and Adtions of the cafe concerning celts
nega ttn the end, Ror feck gfe Temes tinder the fecerll heads and he able Bt and accounts flial liencefarth be tryed where the Plantiffe pleafeth; fo it bein the fori}
cords nce beohe, but he Wand erders ar are nat of generiall concern afl diftion of that Court where the Mantiffe, or Defendant dwetleth: unles by confentun-| Site ined
the #0 be ¢ Coury, ir remain Qld in force,andare ta Be fen in eiebosk tc der both their hands ic appeare they would have the cafe tryed in any other Court, All
Z Stoned rep, Sales net Aver inferied nor mentigured 1 fe fail athe Adtions thal be tryed within that jurisdiction where the caufe of the Aion doth
‘ated arife, [16.
we tie mut meeenmenee the ref of our Brethren amd gisen power matt 1 is me by this Court & Authoritie thetof, ‘That every perfon Sapien be an-
a ah erecution af the ae tt fee them execused: remembring phat old el other in any court of Afliftants, or County court thal pay the fum often fhillings before
fe le ebeaezie ah ene life of the law. Ione fert of you ving nom hig cafe be entred, vnles the euurt fee caufe toadmit any to fue in forma pau perts.[042]] Fete eo.
His efe etme Be. Wee ann ating et t0shis ark ad therfore th EIN oi 4 Jt istered hy the Authosity aforefayd, Thas where the debtor damage recover.
fellion ata ee ETE + precede tata fubfequene, cr implicit canfent (3 of 4 ef edfhall amount to ten pounds in every fuch eafe topay five thillings mere, and where it
Lfubeaivon aye hubh tence 4 ere . if ake f fhall amount to pwenty pounds or upward there to pay ten thillings more then the fir{l | me rt
ign this Cicerntn, eld Forth can ? ten fhillings, which ty ads all be put to the Iudgement and Earcution tobe} ag
one i levied hy the Marfhall and accounted for to the Treafurer. [ri47] -
"TY OF you mee one 4 Tn all actions brought to any court the Plantiffe fhall have libesty to withdraw his
th it ad¥ion or to be non-futed before the Jurie have given in their werditt; in which eafe he .
Hiemee tq th ce hall alwayes pay full coft and charges to the Defendant, and may afterward renew bis! i sieed
Ef 60d at they etait i fute at anether Court, [1641] Jre caveat Rycords.
eae ir fore Fe a the tate for canrinan goes bese tisordered by this Court & the Authoritie therof, that the age for pailing away
indo to i Arar Banathrs fee ir thy food, rough fa ha ie. ; of ta an fuch eae of hereditaments, or for giving of votes, verilicts or fentences in Sas
St it i ming eee PEO CEM the J ane fa fill! che Lite i any civil courts of caufes, (hall be twenty and one years: but in cafe of chufing of) iaeet ade
x t mtb Blvd in tke ond atte of Grad anid the dares | ele Guardions, fourteen years, [264 1647] tas,
ea OF ied and thay i TIME Of their obedience ta civil, tei, ‘AnaBaptits, /
E igh: Serding ta dedubliong ge Ordinance Rom. 13 af Gt i Forafmuch ar experience hath pleifully etn praved thal firce sheet arifing ofits
ne Ondine ta thaje ttl nations, herd Files gathered from the were Ae a dnadapiitt about a hundred years pajl they have been the Ineemdiaries of pmminoni-Ieed
nance tehick ia OetPLEt) but the fac, there is na humane tae that tee, {| Sehelnfedtors of perfans in main matters of Religi@ Ei the Troublers ‘Churches in moj? pla
OH are to fubmnis salamett mediately a law af God, andthat™. ces Where they hape been, &@ that they who have held the haptizing Infants laiaful, have
Tard thar for confeience fate. Rom ij Wfwally held other errors or fergfire together ther with (ekough at hereticds
eat Cot life 10. doc they have canceoled the fame umaill they dfpied a At advantage and
By order of the Gen vel opportunity to’ tent them dy Wray of quaflion or feruple) and Wwherar divers of
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22 Ferries, Finer, Fire,

Fyre, Fifh, Fyberomen, Forgerie. Fornication, Freemen Gfe: Fugitives, Srangers. 2
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fourthdayof thefirft month andthe laft fourth day of theeight month from yearte year and half fo much for a Fine, ot if not able to pay then to be corporally puithed by] |
(1633 1634 1636 1638] io Warrant from one Magiftrate or the next County Court as the offence fat ae, cereal
erred no ing tw i ence. Provided that any man may kindle fyre|
itil omelet tu vseape wr Page wll, Smee nmeeani Demat a
ft it ordered by thir Court and ausharitie sheraf ssi any apilgalay curloge Awd ssheteeves fhall erittingly: and willingly bum or delteny | eres
‘That whofcever hath a Perry graunted upon any paffage hall have the fote liber. any frame, timber hewed, fawn or ryven, heaps of wood, charcoal, corn, hay, ftraw, ;
Fouts! |tie for tranfporting paffengers from the place where fuch Ferric is graunted, to any o- hemp or flax he firall pay double damages.
ther fertie-place where ferrie-boats ule to land, and any ferrie-boat thacfhall land al. Fig, Fijber-men,
fengers at anyother Ferrie maynat take palfengers from thence if the ferrie-boat of the PON the petition of the Inhabitants of Marble-head thir Court doth herby de.
Mamet rot |place be ready, Provided this order thall not rejudice the libertic of any that do ule U clare that homforver it hath Seen an alloted cullom for forreign fifbermen to mate | Forr Fides:
feliewn [tO Balle in their own or neighbours ¢anncoes or boats ta their ordinary labour or bufines. fe of fuck Harbours and Ground in this Conntri¢ ws hedbe not been inhabited by Englijh| for imtee Xe.
Bowe pay | Mllo Pertimen are allowed to take double pay at fuch common Ferries after day light is men, ard fa take timber antd wood at their pleafure for all theireecafions , yetin thge ‘parts
a eeeyt, (done, and thofe that make not prefent pay, being required, (hall give their names inwri- YWhichare nay polefedand the lands difpofed tn proprictic unto feverall tokens and performs
hunter JURg ora pawn to the Ferriman, or elfe he may-complain of fuch before a Magiftrate to and thar by Ais Mafettyes graune under the Great Seal of England,
Mtedeang [Bet fatisfaction. And itis ordered that all the Magifteates and fuch as are , or from Tt is not new lawiull for any perfon cither Fifherman or other , either Farreiner | rer atiowea
fae [time to time shall be chofen ta ferve as Deputies of the General Court, with their necel- of of this Countrie to enter upon the lands fo appropriated to any town or perfon, or ta
fary attendants fiz: aman anda horfe at all times, during the time of their being Ma- take any wood or timber in any fuch place iit the heence of fuch townror Prope:
praises Deputies (and not their whole families] fhall be paiTage.free aver all Ferries. tor: and if any perfon fhiall trefpalfe heerin the Town ot Proprietor (n injured Rke
Built tovided where Ferries are sppraptiated to any, or rented out & fo he out of the Coup: take their remedic by Action at law, or may referve their goods of other tbe la f I
tien eth tries hands their paffage fhall paid by the Countrie, And the Fertimen of Charli oppofing lawfull force apaintt fuch unjutk ease: Provided that it {hall toe Linw i Loa fox oa
meek” [Riter are allowed for the paffage of the § Japiftrates, Deputies, Grand and petty Jutie- for fuch Faith as thall be imployed by any Inhat in this Jurisdiction in the) rs!
men prifoners;Keepers and Marfhals,by agreemene with them fix pounds per anment. feverall feafons of the year tomake uleof any of our Harboursandfuch lands asare ie
+0 be paid by the Treafurer, adjoyning,for the drying of their fifh or other needfull ceafions , as alfo to have {ue
tnd wheras men dee palle over the cmmon Ferrier in great danger afientinte! y and timber or firewood a5 they fhall have neceffary ule of for their Sthing feafons nee Ht soups
the Fervimen excufe themfetves dy the impartunitie of paslengers and tant af late fo 1"- niay be {pared , fo as they make due fatisfadiion for the fame to fuch Town or Pros) ann ie
able them tg ep due order touching paflengers , ite therfore Acerby farther andered, Prictor, [1646]

That no perfon thal preffe or
Seats pafes: [Pecriman erat the moft of th hal
fuch attempe:

enter into any ferric-boat contrary to the will of the
the palengers firft entred upon paynof ten thillings forevery I

and that everie Ferriman that thal| permit and allow any perfon to

Forgerie. i
‘Tis ordered by this Court and Authoritie therof, That if any perfon fhalt forge
come into his boat age

any Deed or conveyance, Teftament, Bond, Bill, Releaf, Acquittance, Letter of

. , :: ¢ un ect Se in the Prifory three
. : inft the will of any of the Magiftrates or Deputies ar any of the Attourny or any writing to pervert equiti¢and jultice, hefhall ftanaint
Filders hipped in fuch boat or the gieavergate of the palfen rers. in ni faid boat , {hall feverall tenure ayes end reader double damages to the a sore alge
Frrimaa’s fest fee everte perfon fo admitted or received againft {uch their will fo declared the diffabled to give any evidence or verdiét to any Court or Magifirate.
rr um of twentie fillings. “And it thall be in the power of any of the Perrimen to keep
CutSt put out of his boat any petfon thathall preife,enter into, or ftay in any fuch fe Fornication. “Phat if any man fall commit
He-poat contrary tathisOrder, And itis farther ordered that all perfons (hall be re- I Tis ordered by this Court and Authoritie therof, “That Ty either by enjoyn-
Bohai el feived into fuch ferriecboats Sccerding to theircomming , firftorlatt, only all Publick _ ~ Fornication with any fingle woman, they fhall be pum ee ead the fee,
taped pelons ar fuch as por upon publick of urgent oceafions, as Phifitians, Chinergeons and ing. to Marriage , or Fine, or corporall punifiment, of “i a i. word of God. And
itiomraas | Midwives and (uch other as are called to woemens labours, fuch fhall be trantportes $8 in the courts of Affiftants thall appoint moft agreeable to 3] :
with che fit, [ubgu 1644 1656 149) See (biledge. this Order to continue till the Court take further order. [164
het. - Freemen, Non-Freemen. fers of Churcher tha to ex.
Wheras divers perfor indebred ta the Counerie far publick Rates, @@ others for Finer HERAS there are within this Furitdidtian eat) ine Stell wet come fi, 10
Thaferavsiding payment fomiimefelltheir hou and lands,and fend alway theit good! fmpe themfetoes from all public fereice in he Comte tatharite therals
here na es WR ether Plantations, it tp therfore andered by the authoritie of this Court, be made Freemen , is is hes entered by tit Cott cn ns within this Jurisdiction | hs s7¢ sor
mae Vo ait the Treafarerfhall aunt Warrant 6 the Marfhall to attach the bedyes of That all fuch members of Churches in the = rare from time to tite chofen to] eat eens
m Petfons 8: keep them til they make fatisfaétion; and all fuch peefonsas are to pay fall not be exempted from fuck publick fervice aM = rors, Seledt-men and Survey-
Test ented Geet they have not lands or poods to be diftreined fhall haverrhetr bod yes att8<h- by the Ersemen of the feverall towns; as Conftabley, {ert Oe ce upon him
ae come fatisfadtion, Provided that any Court of Affiftants or County Court a ors a highewayes, And if any fuch Beclis Oral oy for every fuch refulall fuch
a woe = . o Br : \ 1 i
make ae hea from imprifonment if they hall finde them indeed unable t ie, uch Office being legally chofen therunto

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Fine as the town fhall impole, notexceeding twenty fhillings as Freemen are ly

eoeers Eyre sa in fuch cafes. [1649] Strangers hh
sratred by this C oriti foewer {hall kiealle Fugitives , 8 : i eiatgenes wat
fos {resin woods = pounds inne peduinite ed Ga thal run inte J Tis ordered by this Court and Authoritie aaa eee tyrae or op.
fecond, a wreunds or inclofures; before she tenth of thefrft monthorafter thelattof the tions profefling the true Chiftian Religion {ha Wars, or tie like necellarie and
s\moath, orn the lat day of the week, or on the Lords day fhall pay al dameget Preffion of their perfecutors, ot feats Rane Re compulfarie
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|-_—— Gaming. General
iL compulfatie caus Court. Gorernour. Herie, Hyites 2 Skfas.
larboured, | ilarie caule, they th .
th a they Chall be :
“power and prudence God thall ive we Ga spsentted amongft us according 1?
» (10g)
PON complaj Gaming
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fou a * common tueutee rie ufe of the game called Sh uifle-board, i
the a wed raf of Wine and deer vameck pretiones geme infpeng ansfraigie?
ree Thi one thi Cost eceasaned, itis therfore ordered snd enaied 4
sont | houfa ‘marines henceforth .

pelican | Keeper Miche houfe uied ase te os game of Shufle-bonrd ia #Y

wovning | PEHOR playing at the fn forfeit Sor every fuck ce ee Panes PON BAYT foe ¢

ty mony an [fillings : N i iad game in any ah offence twenty fhillings: and for every

pattie |worth upon penal Vany perion at any q oufe, to forfeit far everie fuch atfence Av"
forming heen’ of forfeiting treble, time play or game for any monic, oF mony
min any offence seared to.the Tes the value therof: one half ta the parti Ht

Ce againit this Law, (y Sib iba any Magiftrate may hear and jecet
Wha have i : 47.
pera | Tec ay hs Caurt dered at
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Major wars og | UEaiES he or relation whatfocwer? Publick Meffage or meapeutien soewithitandin

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shaun!” [the major part the General Court ie Ei nhdertake the fervice . @

het 1 staf. [1641] See Carre s* Adjnireed Without the confent

the Coser i » Courts,

hes I Vote neta and by this Co egehrnour,

' [Affemblie, eat on nite fal eee tha the Gavernour fhal] have 4 callin
[i641] See Gens Cs, the Prefident o M all out in the Court of Aififtants, of genet?
A a. Modcratoar have in all civil Courtsor Alten! ®
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thy 9 Arora erejie.
beantefcha confi ten eb over the Faith &2 Confeiencet of mens an
rin. fn da ite or = i jencet? 2
rt ge te a ei
‘gy aa if oye ordered and chine by AE . be rejtreined from suck resortoal
the chrifti tian within this Taicdeee tt
herefic s aoe Pith and Rel this Jutisdidtion fhall go about to fubvert and dts
any fin to be pee ee immor ion, by breaching of mainteini » damnadle
i accounted freed off tits of the Soul, ot the Sarai ie body +
MT . ‘Ben ‘ ie FeAUrrect) t 4
ee oe that wee are ardenying thar Chan, 1 Ofany evil done by the outwar man
F own work ultified by hj gave himfelf a Ranfom for our fins »
intleavour ta feduce orp tl! den: yo Death and Hiphteoufnes . b . v the perfection

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ent. [1646] frin after dug mean of ean pee {ue patil
. 1a. | fentence
W Heras I
Some Fydes &2 Spi

Haw hides, the puublich d Perfons mere feof tint. of

lyourat Nene 2 mborna ator oat Pe advantage thet
‘rectly any raw hyde a hall deliver abated rota anti) Co Gree
7 yan or other Vee me

skin, pels
or .
leather unveought with intent to Have

ee.

Hydes €2 Shins, Hygh-tayes. fdtenes.

34

f

heap ees out of this Jurisdiétion upon pain to forfeit th

pelt, or | And that no Mafter of any thip or velfel fhall receive

irahitine eather unwrought directly or

tran ported upon the like penalty .

des are a hydes or skins brought hither from beyond the feas
vor the skins of Beaver, Moal, Bear and Otter. [1646]

Hygharayes,

Th eee of this Covert;
vellers at all common high.wayes fhall be fuch as may he moft ec
made) ft n which purpofe everie town (where any fue
Sealey Appoint two or three men of the next town, whi
out whit therat, chofen & appointed by their (aid town, who
any a an nia wae where they may be moft conv’
ing a ng proprietie, (fo as it occalion not the palling down o
mine any garden or erchard): who in common ground
Mote sas verte rockie fhall lay out fach high-wayes the wyders

o

+ fo as no damage be
judgement of the

ty
mee by the faid "Townf-men an
hire wh finde hinsfelfe juftly greived he may appeal t
j arta doe juftice therin on both hands asin other cales
ee that divers high-wayes are much annoy
an ;
of this ee eredied wpow thert ,
at upon any information oF ¢
sear ny Court or ta any Magi
Zomimi Upon any common, higheway , the far
reforin, ee ofdifcrect and indifferent men to VIEW)
fi ation theraf, And if the parties whorn 1

ushor
florders , they fhall require them to appeat 4
and order by chem im

or any

Toprigtors eoft a
nd di.
Thon highawayes checogh ki

ddlenet.

other thal] fpend his time idlely or BAP

Court of Aiftants or Courty Court thal think meet
j

as th

T O the end there may be convenient high-mayes for Travellers,

ane or twu chofen by the partie
othe next County Court of that

itis ordered and mated

he fame or the value
any raw hyde, skin,

indireély, zboard his fhip or veffel to be fo
Provided that any perfon flranger or other may

by way of Merchan-

iit ordered by the

afie, anu fafe for tra-

fh high-way is made, or to be

fe Inhabitants have mot
thal from time to time lay
enient ; notwithftanding
fany mars houfe , or lay-
5 or where the foyle is wet,

pis: fix, eight, ten oF

thal din his improved ground the town
make him reafanable fatisfadtion by eftimation of thofe of thie wo towns that layd
jn either cafe it {hall be re-

of appeals. (1632)
ed and incumbred by
by the aluthoriite

fon, Houthelder of

Tiso: . Hi hat no
I ordered by this Court and Authorite there Opa of dy panithment

to in fli. And for
this

Farle,

fp whan
yd wu.

Tlaces ee
empted.

Rrcompence
ta reeset:

he} Arpad

Priate wares
in tone

One Stages

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didlenes, Fefuits. impos.

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The tarwer af
two Aanty

T HIS Court taking into eapee! iit,

: a ! ration the great tar: bastions and disifont
neue Hit day tm Europes and thas the fame are bbfersed 00 be rayfed and?
ae Mec ” ihe fecretunderminings, and falicttations of thofe uf the Feruitt Orders
tery State to pet ua ms religion and court of Rome ; iach hath accom
“led diy ng eee smog
by the authentic athe (piritual oF ccelefiattical ; rfon [ns they are termed] ord
conte within this Ju : Lone, or Sea of Rome fhall henceforth at any time repute,
Ou Made The is one of fuch S eadl@tion + And if any perfon fhal give puft caufe of ful] icon that
1. and if he cannot fee he oF Onder he that be brought before fame af the Magitrate
Zithroens, nd over to theme en elfe of fuch fufpicion he fhall be committed to prifon a
ent or otherwile as the Cog of Afitants , to be tryed and proceeded with by Baie
taken the fecond tin © Court thal feccaufe: andif any perfon fo baniihed thal i
thal be put to death : within this Jurisdidtion upon lawfull tryall and conviction, :
tual or ecclefiafticall p rovided this Law thall not extend to any fuch Jefuit, ee
cident, foas he Set es fhall be caf wy four fhoars, by fhip-wrack or other 3°
Aue no longer then ihe may have opportunitie of pailage fot

gined

his departure «
Ups publk ecenfea any fuch as thal] come in company with any Meflenget ithe?
not in emnitie with the & F any Merchant or Matter 0 any fhip,belonging to any a
fame Meffenper Me er oe ha Cnglandor our felves, foas they depart again wi! the
their aboad heer [1647] chant , and behave themfelves itoffentvely drink

Worrentes,
3 Impan i
sty otdered by Authotitie af eh ee ie
within this Jursdiction nes of this Court thar iVorroneco wpan Coneilice ue
mre and be reputed asa partof the town of erect
1 Mother partsof the fame town, untilupon et’,
“nto ititfhall be thought fit by thisCourt to anoe%
ho
Bink

mee fes eredhed

Mh
Two pence w houk
tha of fuch asthall be aihe ree the fame fhall ayunta the publick Trea furie (by the

ot

nee, Andi amie) for everie skin of Beaver, Orter, BEN.

f ah Trader hath not oe Perfon fo aligned Mhall have eaule ta fu fpedt that i

ai the next Magifiray 4 TUE Account of all fuch skins fo traded , he shall info t

fon SOUt upon his path on! ee Mall fend for fuch Trader and require he
Free nct takedfend with a which ifhe thall refufe todoe, he may comm?

* ats conte ‘pearance at the next Courto! AMiftan*

arther ordered ahr all with according ta juftice.

OF Neer any f, h fa . i sag, Hl
Freteit Tany fuch T; uch, i dingy
Be fatised within san S-POule for which the faa sprees ees OY Way set
Teafurie, of th ipa of oe a ublick
C

alt
Upon any uence te Value therof; all be forfeited to the PY
thins ot other beods in fh nae aa _ any one Mag!
shoufe . [164

Fmpafls,

2 For the ett ri of the Gaver fof this Commonwealth and the
ance of Fe th ee sith and fafe.grandi igaf our Cons and Harbours os
f if

aur felves and others that cane ts trade With wt, tir ordered by this Court and the ae

aie theraf, Se her that fhall bring wines into any
atevery perfon, Merchant, Seaman, of other inedtly
our Harbours, snow y {hips or veffels whatfoever (except they spc ae oa aah
land as their fir(t Port) before they land any of the fad wines, more Cr ee
make entric of as many Huts, Pipes, or other veilels, as they or any of tert putes
{hote, by a note under their hands, delivered unto the Officer at his houfe (whois In tL
Stive the Cuftoms) upon pain of forfeiture and confifeation of all fuch wines as ie a s
td be!ore fuch entris made, wherefoever found, the one hale ta the Countrie, the es her
ilfe tothe Officer: and the Merchants of Owners of fuch wines of any kinds,ss oot
3s he lands them, fhall deliver and pay unto the es what is due for Cuflom 0
eM according te thi in wine according to the proport!
Parcel that iy mite g heOfficer andOwace can agree,to the nh ve =
tisfadtion af the faid Officer, ar elfe the Owner and Officer to nominate at i "
who thall put a finall price between then, in point of valuation of the wines or s ae
toms: but if they cannot agree upon notice from the Officer unta ne = Ome : and
fe being, hieidsl'decorhin the price therof, and being fo ardered the er an
“erchant Shall accept theraf . i ft
And itis farther onde ae he that is the cheife Officer ta receive ee coor
ve under him a Demutie or Deputies who thall be as Searchers or manor eat
Places to take up fuch wines, by the cheif Officers appointment » ing tha fuch due
what is landed in any place that the Country be nat defrau ded, wha an either by the
Fecompence ay the cheif Officer in his diferetion (hall agree with them heft tates follow.
Butt or Pipe or by the year. All wines to pay cuftoms accents ate he fe Web ern If.
re tis: for every Butt or pipe of Fyall wines of any other wines 0} ght nee, For
IS five hhillings . Far everie Pipe of Madarie wines fix fhillings FBR TET
a Butt or Tipe of Servis fack, Maiko or Canarit aiee yor Bafards, Tents. &
“1, Malmfes and other wines from the Streights ten is weiter veifels of each kinde,
“!gants ten fhillings: and proportionably for greater or et" Y tionably for
re Hogihead of French wines two fhillings RENEE
ter or leffer veifels , i i
tnd for better recovering of any fuch Cufloms of bites oe
Hg according to this Onder and for refusing of payment of foe?
Of the Officer , ip fs farther ordered, ‘red to goe into all Houfes er
That the faid Officer hath herby power and is require’ e to time fhall fez
Cellars where he knoweth or fufpedteth any wine to be, and frem ale feiz upon, and
bon fuch wines as are nat entred according to this Oraer Cattom is duc according
‘ake polfeffion of fo much wines as to make payment CA A -r according ta this
oechtrics made, and is refuted or neglected to be paid in aed to alfift and ayd
"der. And all Conitables and other Officers are heerby ee fuch Houles or Cel-
jP Offcer in thedifcharge efhis duty, and helping to break Pee a kevsina
“Hf the Owners of fuch wines fhal refufe to open their doers a r other that fall be
Pescable way, And any Smith, Carter, Ownet of boat Pett
"quired by the Officer ta put to thei: hand tohelp and alli in Jeet fuch fervice for
Potting (uch wines for cherle of the Country, and thal refufe 0° aoe fuch default, to be
“et hirefhall forfeit to the common Treafurse ten fhillings for nee te ches du unto
levied by the Conftable hy trarnane from any one Magiftrate. 4, they are to be reco
the Countrig fer cuitor: iis where wines are not eo be foun Fes. and this Onter
Fered by Way of A@ion, according to a courfe of law as 19 oA ¢ in this Jurisdiati-
'Obe in farce to tecqver Cultoms i “ll thofe that have landed win

ret, for not enter
tothe fatisfaition

jon of the goodaes of the ,

OF alread fy
Y¥ and not payd Cuftom. Inmiprafies,

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Enerie ef wine

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— Imprafer. Imprifewment. Indian, Indfigues, Inditements, Inokeepers. 2
Ti Improfes. of the Indi d the fencing inaf theireorn fiek’s , fuch towns,farms or perfons,|
T * ans toward the fencing ina: the 4 4 se
Recntpiaes I eas by this Court declared, that no man (hall be compelled to #27 whofe cattle may annoy them) Mat way ,fhall direct, alli avd help them in ti p oF ee a Fe
neral Court; ind Le fervice, unletfe the Preffe be fed upon (ome att of the Ge- trees, ryving, and fharpening of rayls, & holing of polls : allowing ere Bs lihnae
Tretfe fe Med in perfon a allowance therfore: nor hal] any man be comp tothree or mare Indians. And {hall alfa draw the fencing into piace for them, an
“ue ; Paton to any office, work, wary, or oth i ‘ ia necedtarily and allow one ia 7 he fetting up the fame, and either lend or fell then:
ciently exempted, b other publick fervice thas is neceilarily ’ nan aday ar two toward the fetting up Se ee
fom dunn [Bredtnen of ape defo ered eatural or perfonal impediment ¢ as by want of yeart, tools to finith it. Provided that (uch Indians, to whom the Countrie, oF any town
sony gt, defect of minds, faiti ‘ ahall bath os Sat ee gat: ground al he
any man be compelled 1 failing of fenfes, or impoteacye of tims. Not ii geen er fhall give ground to plant upon, or thar fhall pal he Englifh
Commonwealth, or topoout of this Jurisdi@ion upon any offenfive wars, which this Englifh fhall fence fuch their corn fields er grand at their own chase tt renee
but only upd fick Aol out freinds ur confarderates fhall voluntarily undertakes urthowld doe; ancl if'any Indians refufe to fence their com proun It ong ve
freinds rade Ted ave and defenfive wars, in our own behalf, of the Techalf of out help as aforefaid) in the prefenee and hearing of any Magifrate ur le 7 own men}
or by Auth Aathall be enterprized hy the counfeil, and confentula Ge ing met together they fhall keep elf all cattle or lufe one halfoft Se the
ind fae ontie derived from the fame. Not thall any anans cattle o i: And it is alfo ordered that if anyharm be done at anytime by the Ind Me teil ais yeb
tend. Werrant a Preffed, of taken for an publick ufeor fervices unlea tt “agtith in their eattle; the Gnvernout oF Deputie Governor with two of th iM ov jeduame hart
rar feaabi Prizes mdkivaste sare aciof the General Court + nor without fech re nat three Magiftrates or any County Court may arder fativinttion accorsing
cattle or goods thall perifh, we ems Fates of the Countrie doc afford. And tt Juflice . (1640 1648] “ Faia
Breer lertly ree perth, or fuifer damare j be (ul i" akieneak sad im planting ohefe parts te to propagalt true Relig
 teeompenced, [1641] gt in fuch fervice,the Owner (hall ee Goiring es ate re in pan A fobs ta the Sines
Whe ] Tis ordered, and by this Cou Imprifenment. Lo Wibnged themfetoes to be widliery and ready t9 wnuferdand the Late of God , tt H they
tein be terh ot imprifoned by art declared: that fall be reftresne™, Ordered and deereed, 3
thento; fee by any authoritie whathever tehewine Perk Geen F That fuch neceffary and whelfom Laws, which are in force, and may Oe Oe
goat behaviour inthe fuficemt feeuritic, Hayle or Mainprize for his appeara nee, and from time to thine, to reduce them ro civilitic of life thall be cate ae ie AAW
out, and in fugh eales eee unllesit bein erimes Capital, asid contempt it OP times be fafe] made known to them, Ly fuch fit perfons as the Gener
*where fone expreife Ad of Court dath allow it. [1641] Miinate , having the help of fome abte Interpecter with them i ating the
[ Tis rdcreu by Authoast ridin. niderdug alta thar settery jor of tomguce is app af fh Le Ee rel aL
forth buy land ofa oie ofthis Court; thatno perfon whatloever fhalthenté Truths caret ‘may therfare have a Heffed fuceafe the heavts of others in dae, 1
Court: and if any thal a ithour hicence frit had & obtained of the Gene therfore fasther ondered and decreed y he Churches everie year at
coewa ys aa end heerin, fuch land fo bought thall be forfeited © ‘| ae rhe See leis fhall be chofen by ihe Elders of ‘i he al {with whom Wen
i ss . Surtof Ele‘tion, » fert with the comfent c ¥ a
mee or caufe tm be ae antn within this Jurisdifiion direai! indirectly amend reps hone will freely aller eta accompany them Hn that fervier} to TO =
' ier tepaired any gun, fmiall or er ie uly ss y Inaiahs the heavenly counfell of God arnang the Indians in moft Fapaline an ve re
ame. Nor thal fell or ween ee ely or ind Sf forme alle Interpreter; as may be mott avaiable to bring th ee mat
Any gun-powd E pee Anuiots iti ge of nnd chet ‘on to the Rules of Jefus Chaift .
pon powder, fhot or lead, or thot-mould, er any militan®| the truth, anil their converfation to Jee eve nway frecly Unto
Aiea ten pounds fine, at the leait for everie uch offe"St" ih that fomthing be allowed them Ly the Geacral Courts 10 Be aided by the
swe ants fhall have power to increafe the Fine: or te umpale ©" ole Indians whows they fhall perceive moft willing & res Y tno Indian Thall at any | Assia helt
red by she anescanant be had) ae their diferetion vg And itis farther ordered aru decreed by this Covet; That ne TEE in ayy) tate
< Authoritie afore(aid that everie town (hall have Powe” IME powaw , ne performe outward worlhip to their fa Ce car fhiall come hi-
areanisting the Lords day, {i633 1639 1643] rut of our Jurisdidtion + whether they be foch os thall ae ee pounds; the
Wt9thit Cont that norweéthjlanding the former Law? matt por? and if any thal! tranfgreffe this Law, the fae velerce ar ottierwile be»
ee Grd Armwnition ty he Indice thepare yet upped aim 5p cotuter five pounds; and every ather countenancing by his p
fon afer ate iy i Court and Autharitie therop i of B of age of difcretion ewenty Heliags Lite) ss
f f ication heerof, 3 a hditement) neivin duranet
ies ale any Indian wiautoece To any ee I Fir perfon hall he indited of ry eat ie erin one mth sfter three
Gon without fi tfoever, or un Fame 1all refute tn rensler hia perfon to fome OT Sere «
cred ten joeads am Arates, he thall fae Bf teh Coe, oe ee bate roclaimatiens publickly mage in the town where te ufsaly aH then cng 4
e ean fot oF Neu fourey I na of powder five pound. and for ever poe tne heres Froclaimation and Proclsinatet cs awl appearance - And Wis
niga: : ean fl Ie safiizh male his | ha ead
It sane : Ets and fo Proportionably for any greater ar te Sohdrcay aha teed ots edna wintnl tn prove aoe unles
others a4 ¢, this Court and A; hositi Engl he can make it appear te the ‘hat be was necellarily hindsed.
hers.2s coinhabit wich eee eotitie therof, has in all places, the E*é ake it appear to the Court thik te On benan, .
th Tiiany corn , iq within our Jurisdi@tinn fall keep their cattle fradelteoy Indeepert, Tipping, of common qntertainmecntt #1 (DEY
fi ao S defioyed for want of where they have fehess lane: and i ny 2 I CRASMUCH as there ita meth et and wituellt ee there
4 And (hall ha: OF fencing, er coe glee (208 ammon-teadlth, and of fick as ret xi iva ved prrowes enter
ete camage dda re themfelves to he dhe oe faze te read pany abuts ofthat lu fiber Soh jk iz eoplayments Ht
uch & town, farm og oeaedl that the Indians fhall make peo Yl, tr aep, there ir aljo need of frit ae sie sheraf i
Ls | 0 perfon did the damage. And for encourtse™ oy terfore ordered by shit Court and deter of That

32 In-heepers, Tippling, Drankenes. Inceepers, Tippling, Deunkenes, Juries, Jurors. n

That no perfon or perfons fhall at any time under any pretence or colour of ftrangers horfes siz: one or more inclofures for Summer and hay and provender for
Tati |whatloever undertake to be a common Victualler, Keeper of a Cooks fhop, or hou'e

Winter with convenient ftable room and attendance under penaltic of two ini fine] Prey for
Ceot,Yinuer [for common entertainment, Taverner, or publick feller of wine, ale, beer ot firong- pence for everiedayes defaule , and double damage to the partic therby wronged (ex-
ice Water (by revtale), nor fhall any fell wine privatly in his howfe or out of doors bya

cept it be by inevitable accident. . ‘
And itis farther ordered by the Authoritie aforefaid, that no Taverner or feller of | viewer
wine by retale, licenced as aforefaid fhall take above nine pounds profit by the Bute or
Pipe of wine, (and proportionally for all other veflels} toward his watt in drawing and ual
otherwife: wut uf which allowance everie fuch Taverner or Vintner fhall pay fifty] fini tie
fhillings by the Dutt ur Pipe and proportionably for all other vellels to the Countrie. |Countre.
For which he thal account with the Auditor general or his eee every fix months
and difcharge the fame. All which they may doe by felling fix pence a quart in fs
tale (which they thall no time exceed) more then it coft by the Butt, hefide the benef t
of their art and mpfterie which they know how to eae a a pe eal
" i i juart ner or Vintner {hall pive a true account and notice unto the Auditor or his De

strdasuartland under . td to-any thie will to fell beer out of doors at 2 PEE AES everic veiTell of wine he buies from time to time within three dayes; upon pain of for-
._ Neither fhall any fuch licenced perfon aforefaid fuffer any to be drunken, of feiting the fame or the value therof .
drink excellively iz: abave half a pinteof wine for one perfon atone time; oF to con-

lelfe quantitic, or under a quarter cask + without approbation of the feleéted Townf-
_ [men and Licence of the Shire Court where they dwell: upon pain of forfeiture of five
set pourds for everie fuch offence, or imprifonment at pleature of the Court, where [atit-| ,
fadion cannot be had.
vane And every perfon fo licenced for common entertainment fhall have fume inoffen-
five Signe ebvious for itrangersdizedtion , and fuch as have no fuch Signe after three
months fo licenced from time to time fhall lofe their licence : and thers allowed in
taper] their lead. And any licenced perfon that felleth beer fhall not fell any above two:
ae pence the ale-quart; upon penaltic of three fhillings four pence for everie fuch offence.
cctefders [And it ts perm

Rive atcount,

And all fuch as retale (trong waters {hall pay in ike manner te or, his sc were
. nue tippling above the {pace af half fe ble times, or after nine quart ta the ufeaf the Country, whoal{o fhall give notice ta the Auditor OF ! [taal tere
ines fof the clock at night in, about Se Fee ae penat of ve fhillings for te of everie cafe and bottle of other quantitie they Dury within. three dayed upon Py
oe fuch offence . of forfeiture as before .
nd eve

; ie perfon found is: dor difsbled
1, in the ufe of his Cention drunken eiz: fu that he be therby bereaved oF

es or elfewhere thal forfeit

iti i ¢, all Taver-
Alfo it ts ordered that in ell places where week day Lectures are kept, a sat
reg B. appearing in his (peech of geflure in any the faid houl- ners, Vituailers and Tablers that are within a mile of the Meeting-houfe, fhall from} Camb
ten fhillings, And for excelfive drinking three fhillags

’ = cleared In
fe time to time clear their houfes of all perfons able to gos es Meeting, dunieg Ne Lachey tome.
our pence. And for continuing above hs jppli fhillings fix pence. time of the exercife (except upon extraordinary caule, for the rn
And for tippling at unfesfonable times, See fee qhillings: frangers tex étedly repairing to them) ups pain of five Bilin for every eh offence
Sock for everie offence in thefe particulars being lawfully conviét therof. And for want of over and befides the penalties incurred by this Law ior ai Sie : and determined
Smee payment fuch thall be imprifoned untill they pay: or be fet in the Swords one hout oF It is alfo ordered that all offences againft this Law may’ be tt for parties Os Hy
Tiare [in fome open place] as the weather will permit not exceeding three hours at by say one Magiftrate, who thall heerby have power by Warrant : ewe
“ Pro i wlinetis » and to examin the faid witnelfes ee Ue cei vee of the
Srevila, rovided noewithfanding fi i : in fea-faring men, Sath, concerning any of thefe aflences: and upon due conva be. ath tire
or land travellers in the ni es oe Fe a ta from their faid Mapittrate, or URlnnaion of the Conftable, and ane ‘ed the fiid Linen brvis
Journy for their neceffarie reftethment, ar when he repare for their voyage of jour= Cumftances concurring, ot two witnelles, of confeffion ze ~~ 7 sic
oe the ee Sets fo there be no diforder aon a and alfo Strangers, Lodg- coals, by Parrant to the Conftable for that end, who [hs
fnment dees an orderly wa inue in fuch houfes of common entet- he Auditor for the fame . inft this Law in any] vetagutes
tainment durir Ves y way may continue in fuch hawfes of wall ara starily confelfe his offence ngainft this Law Del nga
rte, : MB Meal times, oF upon lawfull bufines what time their oecafions fia the me Sie I evidence and Itand good againit any
‘or fhall any Merchant c - ther perfons other offending at the fame time, 5 id thal.
Bete [stare heen cea es of Repro in ot Ly rd he beste ata ag
: ae Sane Ships, or other valle or places where wines doe lye; 9 P#" = Ume to time duly make fearch hei a all other times, fo oft as
ret each perfon fo doi shill “ Aycd,and Lecture dayes, in times of Exercile; an i the pariculars
sone eet Lay And if any perfon effend be ainlctes ecetive or long drinking the (ecd time ey thal fer caufe for all offences and offenders see et ee iotabants or
went thal par eayjcauble Fines. And if they fall into the feria atfence the third foe they mies at = “ oo 8 en Tablet or other; they fhall au Sentatln
, ines. And if th + -E Joen he that ts er credible perfons whether Tavemer, Uittuanery ' wawer perform all) wyre.
found drunk thall vq nthe parties be not able ta pay the Fines the f \ hail not to their power pe
Taek all be punithed fy i i ipes: and he that Ule or negleét to make fearch as aforefaid , or {ha «then upon come
ofends in exceflive of | Pn eer tothe number af ten ftripes: shen other thines bs A heir place and Office of Conftablelhip : fafa
the weath, Bng drinking Ii be put inte the flocks for three hours ¥™ SF things belonging to their p sehin three months after fuch refu
Tourth afene Ther may not hazzard hy . fourth time Plaint and due proof before any one Magiftrate witl em be levied by the
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tne diane offence os ee of entertainmen »thall be lawful Geta the third time for any 1646 1647) See Gaming, Licences.
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